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     Attorneys for Defendants, Carpenters Southwest
 7   Administrative Corporation and Board of Trustees
     For the Carpenters Southwest Trusts
 8

 9                          UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona corporation,           No. 2:16-cv-03799-DJH
     doing business as Southwest                  No. 2: 17-cv-00 198-DJH
13   Industrial Rigging,

14                        Plaintiff,
                                                  NOTICE OF WITHDRAW OF
15   v.                                           COUNSEL OF RECORD AS TO
                                                  JODI SIEGNER
16   Board of Trustees for the
     Carpenters Southwest
17   Trusts, erroneously sued as Board
     Of Trustees for the                          Before The Honorable
18   Southwest Carpenter's                          Diane J. Humetawa
     Southwest Trust; et al
19                        Defendants.
                                                  H.earing.: October 1, 2018
20   CaqJenters Southwest                         Ttme: I :30 p.m.
     Adrilinistrative Corporation,                Courtroom: 605
21   et al                                        O'Connor Courthouse
                                                  401 W. Washington St.
22                        Plaintiffs,             Phoenix, AZ 85003
23   v.
     H K B Inc., et al
24
                          Defendants.
25
26   Ill
27   Ill
28
                  NOTICE OF WITHDRAW OF COUNSEL OF RECORD AS TO JODI SIEGNER
      Case 2:16-cv-03799-DJH Document 56 Filed 09/18/18 Page 2 of 3


 1   TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
 2         Please withdraw the appearance of JODI SIEGNER as counsel for
 3   Defendants Board of Trustees for the Carpenters Southwest Trusts, erroneously
 4   sued as Board Of Trustees for the Southwest Carpenter's Southwest Trust
 5   (collectively, "Defendants"). The basis for this withdrawal is that JODI SIEGNER
 6   is no longer employed with DeCARLO & SHANLEY, a Professional corporation.
 7   The undersigned attorneys who have appeared on Defendants' behalf from
 8   DeCARLO & SHANLEY will continue to represent Defendants in this matter.
 9
10   Dated: September~, 2018              DeCARLO & SHANLEY,
                                          a Professional Corporation
11
12                                        By: ~[h.._
                                             Dante! Shanley
13                                           Thomas Davis
                                          Attorneys for Defendants,
14                                        Carpenters Southwest
                                          Administrative Corporation
15                                        and Board of Trustees for the Carpenters
                                          Southwest Trusts
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               NOTICE OF WITHDRAW OF COUNSEL OF RECORD AS TO JODI SIEGNER
            Case 2:16-cv-03799-DJH Document 56 Filed 09/18/18 Page 3 of 3

                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on September 18, 2018, I electronically transmitted the attached
    document, NOTICE OF WITHDRAW OF COUNSEL OF RECORD AS TO JODI
    SIEGNER, to the Clerk's Office using the CM/ECF System for filing and transmittal of
    a Notice of Electronic Filing to the following CM/ECF registrants:

          James Edward Holland, Jr.- jholland@stinson.com,cbarajas@stinson.com
          Javier Torres- javier.torres@stinson.com.cynthia.fischer@stinson.com


             Executed on September 18,2018, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



                                          ~~r~ Secretary
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                                          a Professional Corporation
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